       Case 1:16-cv-01534-JEB Document 495 Filed 03/25/20 Page 1 of 2




                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA



 STANDING ROCK SIOUX TRIBE, et al.,

       Plaintiffs,
               v.                                  Civil Action No. 16-1534 (JEB)


 U.S. ARMY CORPS OF ENGINEERS, et
 al.,

       Defendants.




                                         ORDER

      For the reasons set forth in the accompanying Memorandum Opinion, the Court hereby

ORDERS that:

      1. Plaintiff Standing Rock Sioux Tribe’s [433] Motion for Summary Judgment is

         GRANTED IN PART AND DENIED IN PART;

      2. Plaintiff Oglala Sioux Tribe’s [434] Motion for Partial Summary Judgment is

         GRANTED IN PART AND DENIED IN PART;

      3. Plaintiffs Robert Flying Hawk and Yankton Sioux Tribe’s [435] Motion for Summary

         Judgment is GRANTED IN PART AND DENIED IN PART;

      4. Plaintiff-Intervenor Cheyenne River Sioux Tribe’s [436] Motion for Summary

         Judgment is GRANTED IN PART AND DENIED IN PART;

      5. Defendant United States Army Corps of Engineers’ [445] Cross-Motion for Summary

         Judgment against Cheyenne River Sioux Tribe is GRANTED IN PART AND

         DENIED IN PART;
        Case 1:16-cv-01534-JEB Document 495 Filed 03/25/20 Page 2 of 2




      6. Defendant United States Army Corps of Engineers’ [447] Cross-Motion for Summary

         Judgment against Yankton Sioux Tribe is GRANTED IN PART AND DENIED IN

         PART;

      7. Defendant United States Army Corps of Engineers’ [449] Cross-Motion for Summary

         Judgment against Oglala Sioux Tribe is GRANTED IN PART AND DENIED IN

         PART;

      8. Defendant United States Army Corps of Engineers’ [451] Cross-Motion for Summary

         Judgment against Standing Rock Sioux Tribe is GRANTED IN PART AND

         DENIED IN PART;

      9. Defendant-Intervenor Dakota Access LLC’s [455] Cross-Motion for Summary

         Judgment is GRANTED IN PART AND DENIED IN PART;

      10. Defendant and Defendant-Intervenor shall submit briefing on remedy by April 8,

         2020;

      11. Plaintiffs and Plaintiff-Intervenor shall submit their responses by April 15, 2020; and

      12. Defendant and Defendant-Intervenor shall submit their replies by April 22, 2020.


So ORDERED.
                                            /s/ James E. Boasberg
                                            JAMES E. BOASBERG
                                            United States District Judge

Date: March 25, 2020
